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Memorandum of Understanding
Regarding Defense Medical Examinations in the Pending Causes:

Tracy Caekaert and Camillia Mapley v. Watchtower Bible and Tract Society of
New York, Inc., et al. USDC Billings Division 20-CV-52-SPW-TJIC

AND

Ariane Rowland and Jamie Schulze v. Watchtower Bible and Tract Society of New
York, Inc., et al. USDC Billings Division 20-CV-59-SPW-TJIC

RECITALS

Defendants Watchtower Bible and Tract Society of New York, Inc.
(hereinafter “WTNY”), and Watch Tower Bible and Tract Society of Pennsylvania
(hereinafter “WTPA”) (hereinafter collectively “Defendants”), have retained
Michael Butz, Ph.D (“Dr. Butz”) to examine Plaintiffs Tracy Caekaert, Camillia
Mapley, Ariane Rowland, and Jamie Schulze (hereinafter collectively “Plaintiffs”)
pursuant to Rule 35, Fed. R. Civ. P., who Defendants expect will assist the triers of
fact in determining the existence, nature, and extent of the psychological
conditions Plaintiffs have placed at issue in the above causes of action by claiming
injuries and damages secondary to various instances of childhood sexual abuse.

The parties stipulate as a threshold matter that Dr. Blitz is a suitably licensed
and certified examiner to conduct the subject mental examinations within the
meaning of Rule 35(a)(1). The parties further stipulate as a threshold matter that
there is “good cause” within the meaning of Rule 35(a)(2)(A), Fed. R. Civ. P., for
the subject mental examinations to occur. Notwithstanding the foregoing
stipulations, Plaintiffs reserve the right to challenge any and all aspects of Dr.
Biitz’s examinations, testing, opinions, reports, and testimony in later briefing or at
trial.

The parties have conferred and reached agreement on the terms and
conditions set forth in Section A of this Memorandum of Understanding (“MOU”).
Areas of disagreement are set forth in Section B of the MOU and shall be litigated
by submission of separate motion(s) to the District Court.

In the event of any conflict between (1) the terms, conditions, or

requirements of this MOU and (2) any form Dr. Butz requires Plaintiffs to sign, the
parties agree that the terms of the MOU shall control and be binding.

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EXHIBIT

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SECTION A

Pursuant to Rule 35(a)(2)(B), Fed. R. Civ. P., the parties stipulate that the
mental examinations of Plaintiffs Ariane Rowland, Jamie Schulze, and Tracy
Caekaert will occur subject to the following time, place, manner, conditions, and
scope:

1. Ariane Rowland’s mental examination wil! occur at a time to be agreed to
by the parties at the offices of Dr. Biitz located at the Transwestern |
Building, 404 North 31st Street, Suite 202 in Billings, Montana.

2. Jamie Schulze’s mental examination will occur at a time to be agreed to
by the parties at the offices of Dr. Biitz located at the Transwestern 1
Building, 404 North 31st Street, Suite 202 in Billings, Montana.

3. If Tracy Caekaert is healthy enough to travel her mental examination will
occur at a time to be agreed to by the parties at the offices of Dr. Butz
located at the Transwestern 1 Building, 404 North 31* Strett, Suite 202 in
Billings, MT. If Tracy Caekaert is not healthy enough to travel, her
mental examination will occur at a time and place agreed by the parties in
Littlerock, Arkansas. Dr. Biitz has specifically agreed to become
appropriately licensed and certified to conduct Ms. Caekaert’s mental
examination within the state of Arkansas, if necessary, as part of this
agreement.

4. As to each of the subject mental examinations, the manner, conditions,
and scope have been set forth in Dr. Biitz’s letters dated April 25, 2023,
and May 26, 2023, which are attached hereto as Exhibits XX and XX and
are incorporated herein by reference. Dr. Blitz has also provided a list of
general categories of testing in his letter dated July 17, 2023, which is
attached hereto as Exhibit XX and is incorporated herein by reference. | _--77| Commented [RS1]: We need to know if he is proposing
The parties generally understand that the scope of the subject (neuropsychological testing.
examinations will be to determine the existence, nature, and extent of the
psychological conditions Plaintiffs have placed at issue in the above
causes of action by claiming injuries and damages secondary to various
instances of childhood sexual abuse.

5. Dr. Biitz agrees to keep and provide Plaintiffs’ counsel an account of the
testing administered to each Plaintiff. The account shall include, at a
minimum, the specific name and version of the test given, the time that

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the administration of each test started and stopped, and the time and
duration of breaks in testing. Dr. Biitz will not be required to time stamp
any recording as part of the assessment process.

6. As to recordation, the parties agree that Dr. Butz shall audio record from
the moment an examinee begins interacting with Dr. Biitz until the
conclusion of the history and mental status interview portions of the
examinations. No party will be authorized to send a representative to
attend any portion of the examinations, nor will an audio recording be
made of the testing portions of the examinations. The subject recordings
will be automatically subject to the Stipulated Protective Orders (Doc.
110-1 in Caekaert/Mapley; Doc. 99-1 in Rowland/Schulze) and a copy of
the audio recording will be provided to Plaintiffs’ counsel within twenty
(20) days of the exam. Prior to the commencement of each exam
Plaintiffs shall execute Dr. Biitz’s Authorization for Audio/Visual
Recording (see attached Exhibit XX).

7. The reports generated by Dr. Biitz will be automatically subject to the
Stipulated Protective Orders (Doc. 110-1 in Caekaert/Mapley; Doc. 99-1
in Rowland/Schulze) and provided to Plaintiffs’ counsel, along with like
reports of all earlier examinations.

8. The raw test data generated by Dr. Butz will be automatically subject to
the Stipulated Protective Orders (Doc. 110-1 in Caekaert/Mapley; Doc.
99-1 in Rowland/Schulze) and provided to Plaintiffs’ expert, Dr. Jonathon
Bone.

SECTION B

After conferral the parties were unable to reach agreement on the issues set
forth below that will either be resolved through additional conferral or submitted
by separate motion(s) to the District Court for resolution. Such disputes
notwithstanding, the parties stipulate the subject mental examinations of Plaintiffs
Caekaert, Schulze, and Rowland may be scheduled and proceed while the parties
either resolve or litigate the remaining disputes.

1. The parties disagree about whether the costs of conducting Plaintiff
Camilia Mapley’s mental examination in person is justified.

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a. Defendants and Dr. Biitz contend the subject mental examinations
must occur in person within the United States District Court for the
District of Montana, Billings Division, where Plaintiffs filed suit.
To the extent any of the subject mental examinations cannot occur
within the Billings Division due to circumstances personal to the
Plaintiff(s), Defendants and Dr. Biitz contend Plaintiffs must bear
all additional costs associated with Dr. Biitz’s travel outside of the
Billings Division to complete the subject mental evaluations in
person. This includes the costs associated with Dr. Biitz obtaining
the required certification(s) to conduct the subject mental
examination(s) within the venue(s) at issue, all travel costs, and Dr.
Biitz’s time in transit at his regular rate of pay.

b. Plaintiff Camilia Mapley resides in Australia and contends that any
benefit gained from an in-person exam, as opposed to an exam
conducted remotely as Plaintiffs’ experts did, is not justified by the
financial and logistical costs. Nevertheless, Plaintiffs offered to
cover Dr. Butz’s basic airfare, hotel, and ground transport to
Australia to conduct Ms. Mapley’s exam in person. However, after
considering Dr. Butz’s various travel demands, including a
business class ticket, payment of professional fees for the days he
was travelling, and the cost of becoming licensed in Australia, the
minimum costs of an in-person examination were at least
$23,000.00. Therefore, Ms. Mapley contends her exam should
occur via remote means.

2. The parties disagree about whether Plaintiffs’ counsel and expert witness,
Dr. Trent Holmberg, shall be permitted to view and discuss Dr. Blitz’s
raw test data for the purpose of direct and cross examination (both
deposition and trial).

a. Defendants and Dr. Butz contend that only Dr. Bone is entitled to
view, access, and discuss the raw test data and that Plaintiffs’
counsel and Dr. Holmberg shall not be permitted to view, access,
and discuss the raw test data.

b. Plaintiffs contend that if Dr. Butz is going to offer testimony under

Fed. R. Evid. 701-705, he is required to produce his raw test data
under Fed. R. Civ. Pro. 26 so that it may be used and referred to by

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Plaintiffs’ counsel during direct and cross examination as deemed
necessary by Plaintiffs’ counsel.

3. The parties disagree about how to handle the potential disclosure of
attorney-client privilege communications during Dr. Butz’s mental
examinations:

a. Defendants and Dr. Butz agree thatDr. Biitz willnot ask any
questions during the subject mental examinations intended to elicit
responses from Plaintiffs concerning privileged communications
with their counsel, law firm staff, or consultants. Defendants
further contend that, in the event of an inadvertent disclosure of
attorney-client privileged information within the meaning of Rule
502(b), Fed. R. Evid., Plaintiffs’ counsel shall follow the procedure
set forth in subsection (3) and promptly meet and confer with
counsel for Defendants.

b. Plaintiffs contend that Dr. Butz has been retained as an agent of the
Defendants and intends to ask Plaintiffs questions on behalf of the
Defendants, including questions that could elicit the inadvertent
disclosure of attorney-client privileged information. In order to
prevent the inadvertent disclosure of such privileged information,
Plaintiffs proposed either: (a) permitting a lawyer for Plaintiffs to
listen remotely to the subject interviews so that they could
intervene and prevent such disclosure; or (b) striking from the
record any attorney-client privileged information disclosed during
the exams.

APPROVED BY:

Ryan R. Shaffer
MEYER SHAFFER & STEPANS PLLP
Attorneys for Plaintiffs

Brett C. Jensen
BROWN LAW FIRM, P.C.
Attorneys for Defendant Watchtower Bible and Tract Society of New York, Inc.

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Christopher T. Sweeney
MOULTON BELLINGHAM, P.C.
Attorneys for Defendant Watch Tower Bible and Tract Society of Pennsylvania

Michael R. Biitz, Ph.D.
ASPEN PRACTICE, P.C.
Independent Medical Evaluator

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From: Jessica Yuhas

To: Jon Wilson; Brett Jensen; Michael Sarabia; Joel Taylor Citaylor@mmt-law.com

Ce: Ryan Shaffer; Rob Stepans; James Murnion; Katy Gannon; Matthew Merrill; Barbara Bessey; Sylvia Basnett,
Vivian Smith; Jared Brannan

Subject: RE: Letter to WTNY re WINY003968

Date: Wednesday, August 30, 2023 3:53:37 PM

Attachments: 2023-08-30 Ltr. to WINY re WINY003968 pdf

Counsel,

Attached please find our letter of today’s date. This will follow via U.S. Mail.
Thank you,

Jessica Yuhas
Paralegal

Meyer, Shaffer
& Stepans, Pup

Montana Office:

430 Ryman St.
Missoula, MT 59802
Tel: 406-543-6929
Fax: 406-721-1799

Wyoming Office:

3490 Clubhouse Drive, Suite 104
Wilson, WY 83014

Tel: 307-734-9544

Fax: 307-733-3449

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